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                                                                                      RECEIVED
                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                                            -illl 1Ault   fr
                                                                                        II{OMASG.BRUTON
                                                                                    CURI(   U.8. DISTRICT COURT




                 Plaintiff(s),
                                                                  1:17st45238
                                                                 JyOg"      Ronatd A.
                                                                             Guznan
                                                                 Magi@.lrqg"  Sidnry               l. Scfrenkbr




                 Defendant(s).




             COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS

This   form complaint is designed to help you, as a pyo    se   plaintffiyour case in a clear
                                                                            state
manner. Please read the directions and the numbered paragraphs carefully. Some paragraphs
may not apply to you. You may cross out paragraphs that do not apply to you. All references
to uplaintiff' and "defendant" are stated in the singular but will apply to more thun one
plaintiff or defendant that is the nature of the cuse.
                      "if
l.       This is a claim for violation of plaintifPs civil rights as protected by the Constitution and

         laws of the United States under 42 U.S.C. $$ 1983, 1985, and 1986.

2.       The court has jurisdictio4        28 U.S.C.   $   1343 and 13

J.       Plaintiffls full name rs             {

Ifthere are additionul plaintffi,till in the above information as to theJirst-named         plaintiff
und complete the informationfor each additional plaintiff on an ertra sheet.
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4.     Defendant,
                                             (name,


       n an officer or official employed     by
                                                                      or agency of government)



       n    an individual not employed by a governmental entity.

If there ure additional defendants,lill in the ubove information as to thefirst-named
defendant and complete the informution for each additionql defendant on an extra sheet.

5.     The municipality,                          under whose authority defendant officer or official

       acted is                                                                  .   As to plaintiff s federal

       constitutional claims, the        icipality, township or county is    a defendant      only   if
       custom or policy allegatiops are made atparagraph 7 below.

6.     on or uaourt       llD/EOlaat                  approximately   lc,crlJ ,Atrpm
       plaintiff was present in the municipality (or unincorporated area) of

                                                          , in the County   of

       State of   lllinois,   at
                                                                                                                 ffi,
       when defendant violated plaintiff s civil rights as follows (Place X in each box that
       applies):

       tr       arrested or seized   plaintiff without probable cause to believe that plaintiff had
                committed, was cofirmitting or was about to commit a crime;
       tr       searched plaintiff or his property without a warrant and without reasonable cause;
       n        used excessive force upon plaintiff;
       fI       failed to intervene to protect plaintiff from violation of plaintiff s civil rights by
                one or more other defendants;
       n 7      failed to provide plaintiff with needed medical care;
       {        conspired together to violate one or more of plaintiff s civil rights;
       n        Other:
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7.      Defendant officer or official acted pursuant tb a custom or policy of defendant

        municipality, county or township, which custom or policy is the following: (Leave blank

        if no custom   or policy is alleged)z




8.      Plaintiff was charged with one or more crimes, specifically:




9.      (Place an X in the box that applies. If none applies, you may describe the criminal
        proceedings under "Other') The criminal proceedings

        tr   are still pending.

        n    were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.r

        n    Plaintiff was found guilty of one or more charges because defendant deprived me of              a


        fair kial as follows




        lExamples
                    of termination in favor of the plaintiff in a manner indicating plaintiff was innocent
may include a judgment of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal (SOL) by the prosecutor, or a nolle prosequi order.
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      10.     Plaintiff further alleges as follows: (Desuibe what happened that you believe
       supports your claims. To the ertent possible, be specijic as to your own actions and
      the actions of eachlefendant.)




                      W
                                                                                     Co"ku"as



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                                                                                              Co'{r'
                                                                                                   - c-+O
11.   Defendant acted knowingly, intentionally, willfully and maliciously.                     ,\te4
                                                                                               @B&'--
t2.   As a result of defendant's conduct, plaintiff was injured as follows:




            4S,            ,{}z                                                                'fr^r*
t3.   Plaintiff asks that the case be tried by a jury.              nNo
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                                                                                                 No*+
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         Case: 1:17-cv-05238 Document #: 1 Filed: 07/14/17 Page 5 of 8 PageID #:5


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 14.    Plaintiff also clairns violation of rights that may be protected by the laws of Illinois, such

        as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,

        and/or any other claim that may be supported by the allegations of this complaint.




        WHEREFORE, plaintiff asks for the following relief:

        A,      Damages to compensate for all bodily harm, emotional harm, pain and suffering,

                loss of income, loss of enjoyment of life, property damage and any other injuries

                infl icted.by defendant;

        B.      VlPtace X in box tf you are seeking punitive damages.) Punitive damages

                against the individual defendant; and

        C.      Such injunctive, declaratory, or other relief as may be appropriate, including

 attorney's fees and reasonable               as auflrorized by 42 U.S.C. $11988.

        Plaintiffs      signature:

        Plaintiff s name (print clearly or type)l

        Plaintiff s mailing uaa."*r,
                                           [3( O S. Gft-,l
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        Plaintiffs telephone r,rl*u"r,Tl'l     b     &l     E   - B<q                  =
        Plaintiff   s   email address (if you prefer to be contacted by



                                                                       /
15.    Plaintiff has previously filed     a case   in this district. tlzYes   n   No




plaintffi An additional signature page may be added.


                                                                  1lt4/xr.r
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